Case 4:20-cv-02254-YGR   Document 477-4   Filed 06/13/25   Page 1 of 13




              EXHIBIT C
     Case 4:20-cv-02254-YGR           Document 477-4        Filed 06/13/25       Page 2 of 13




                                                                           2100 Pennsylvania Avenue NW
                                                                                               Suite 350S
                                                                                 Washington, D.C. 20037
                                                                              Direct Phone: 202.677.4959
                                                                              Email: matt.lavin@agg.com



                                          April 18, 2025



VIA EMAIL

Derek K. Kraft
Gibson Dunn & Crutcher LLP
1050 Connecticut Avenue, N.W.
Washington, DC 20036

   Re: LD, et al. v. United Behavioral Health, et al., Case No. 20-cv-02254-YGR (N.D. Cal.)

Dear Counsel:

       We are writing in response to your letters dated March 27 and April 11, as well as your
email correspondence dated April 18 (collectively, the “Letters”). These communications
misrepresent both the record and substance of the parties’ recent discussions and appear to be an
attempt to delay and obstruct the limited fact discovery ordered by the Court.

         I.     United’s Description of the Parties’ February 26 Conference

        The purpose of the February 26 conference was to discuss the joint report ordered by the
Court in its ruling denying without prejudice Plaintiffs’ renewed motion for class certification as
to the damages class. (See Dkt. No. 469, the “Class Order.”) As part of that discussion, Plaintiffs
indicated that they would request that discovery be re-opened for the limited purpose of gathering
evidence related to balance billing, consistent with the Court’s discussion of numerosity in the
Class Order. Plaintiffs disagree with United’s remaining characterizations of the February 26
conference contained in the March 27 Letter, which are now decidedly moot. Indeed, the Court
agreed with Plaintiffs’ request and proposed schedule set forth in the joint report, and re-opened
discovery by order dated March 11, 2025. (See Dkt. No. 472, the “Discovery Order.”)

        II.     Plaintiffs’ Request for Class List

       United again mischaracterizes Plaintiffs’ conduct—in this instance, Plaintiffs’ narrow,
reasonable, and entirely routine request for identified claims data related to a limited group of
providers. United possesses this data, and Plaintiffs require it to satisfy the Court’s directive on
numerosity and prepare the renewed class certification motion. This request was communicated




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     Case 4:20-cv-02254-YGR           Document 477-4         Filed 06/13/25       Page 3 of 13



                                                                                      April 18, 2025
                                                                                              Page 2

promptly after the Court reopened discovery and is foundational to collecting the information
requested by the Court in the Class Order. Despite this, United still has not produced a single
patient name.

        United’s repeated references to burden are unsupported and have grown increasingly
implausible. United and its affiliate Optum are among the largest healthcare data processors in the
country. Producing identified claims data for a few dozen providers, representing just 0.03% of
the providers in United’s de-identified class list should be an unremarkable task that could be
completed in a matter of hours, not months. The fact that United has already compiled and
produced this data in de-identified form goes directly to the bad faith nature of this conduct. It is
difficult to see these delay tactics as anything other than a transparent effort to “slow roll”
discovery and impede Plaintiffs efforts to gain information requested by the Class Order.

        In fact, after claiming for weeks that it would take United months to provide Plaintiffs with
the identified claims data, United now states in its April 11 Letter that it can provide some of this
data in a matter of days, but only if Plaintiffs agree to additional terms and conditions United seeks
to impose on Plaintiffs. Plaintiffs are not required to justify their entitlement to a class list. As
United knows, this is a standard form of discovery in class litigation. See Jerozal v. Stryker Corp.,
No. CV 22-4094-GW-AFMx, 2023 U.S. Dist. LEXIS 234648, at *19 (C.D. Cal. Aug. 22, 2023);
see also Amaraut v. Sprint/United Mgmt. Co., No. 3:19-cv-00411-WQH-AHG, 2020 U.S. Dist.
LEXIS 7558, 2020 WL 8024170, at *6 (S.D. Cal. Jan. 14, 2020); see also Adamov v.
Pricewaterhouse Coopers LLP, No. 2:13-cv-01222-TLN-AC, 2017 U.S. Dist. LEXIS 211210,
2017 WL 6558133, at *2 (E.D. Cal. Dec. 22, 2017) ("Especially when the material is in the
possession of the defendant, the court should allow the plaintiff enough discovery to obtain
evidence as to whether a class action is maintainable.").

        Plaintiffs are entitled to a complete, identified class list without further delay or
unnecessary meet-and-confer discussions intended solely to avoid production. United has no basis
to impose conditions on this information or withhold such information unless Plaintiffs agree to
United’s terms. The parties are already subject to a protective order in this case, which undermines
one of United’s purported justifications for requiring a stipulation. Moreover, contrary to United’s
demand that Plaintiffs agree to its unnecessary and duplicative stipulation, any identified claims
data provided by United should be designated as CONFIDENTIAL, not CONFIDENTIAL-
ATTORNEY’S EYES ONLY, pursuant to the terms of the existing protective order. Accordingly,
no stipulation is necessary, as confidentiality issues are already governed by that order.

       United’s remaining “terms” are an attempt by United to unilaterally control provider
communications or demand oversight over Plaintiffs’ investigative efforts. Plaintiffs will fully
comply with their discovery obligations imposed by the federal rules, which includes all Parties’
ongoing obligations to supplement discovery responses, as needed. To the extent that Plaintiffs
engage in scheduled meet and confers with a provider and/or a provider’s counsel, Plaintiffs will
make all reasonable efforts to provide advanced notice to Defendants.




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     Case 4:20-cv-02254-YGR           Document 477-4         Filed 06/13/25      Page 4 of 13



                                                                                     April 18, 2025
                                                                                             Page 3

        However, United cannot use its desire to micro-manage Plaintiffs investigative efforts as a
basis for withholding information to which Plaintiffs are rightfully entitled. Plaintiffs have
repeatedly informed United that they intend to limit their discovery search, if possible, to those
providers who have provided declarations already in this case, with the possible addition of one or
more other providers. Consistent with those statements, on March 25, 2025, Plaintiffs provided
Defendants with a request for de-identified class data for 50 providers. This list of 50 providers
included providers who completed declarations in this case, as well as providers with the largest
number of prospective class members, based on Plaintiffs’ review of the claims data. Plaintiffs
informed United of this methodology during the Parties’ April 1 meet and confer call. United’s
stated concerns regarding the basis for Plaintiffs’ provider list are unfounded. (See April 11 Letter
at 3.) Plaintiffs continue to be forthcoming regarding the avenues of discovery they are pursuing
during this limited discovery window and have even provided Defendants with a list of the
providers that Plaintiffs are targeting.

       On April 2, Plaintiffs informed United of 26 priority providers in an effort to streamline
the receipt of the necessary claims data. We again renew our request that United immediately
produce patient names for the declarant providers referenced in the Court’s order, consistent with
our email to you dated April 2, 2025, attached as Exhibit A.

       III.    United’s Provider Subpoenas

        After numerous disingenuous complaints regarding the purportedly burdensome scope of
Plaintiffs’ data requests, United recently issued thirty surprise third-party subpoenas for
documents and depositions to its own separate list of providers—many of whom were already
subpoenaed by United. This tactic raising serious concerns about whether these subpoenas are
merely a thinly veiled intimidation campaign, designed to harass and browbeat healthcare
providers in the hope of deterring them from producing relevant information, demonstrated by the
omission of the limited scope and length of the discovery window in the cover letters to the
subpoenas. United’s actions will certainly prolong and overcomplicate numerosity discovery
during this limited period, when less oppressive and far more efficient methods can easily be
pursued.

        In the event that United sends any provider a template or draft declaration seeking a
signature, as United has done in the past, Plaintiffs request a copy of those declarations as soon as
they are sent to that provider or that provider’s counsel.

        IV.    Plaintiffs’ Discovery Responses

        Finally, with respect to United’s previously served discovery requests, Plaintiffs will
respond and produce relevant responsive materials in a timely manner following receipt, consistent
with the Court’s order and our continuing discovery obligations under Rule 26. But let us be clear:
United’s own compliance with basic discovery obligations—including production of patient
identifiers for an infinitesimally small set of claims—is long overdue.




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      Case 4:20-cv-02254-YGR        Document 477-4           Filed 06/13/25   Page 5 of 13



                                                                                    April 18, 2025
                                                                                            Page 4

         V.   Defendants’ Additional Discovery

        To the extent that Defendants are, or intend to, conduct discovery during this limited
discovery window on any topic other than numerosity, such as but not limited to, predominance,
Plaintiffs request that Defendants notify us as soon as possible. If additional discovery is
undertaken, Plaintiffs request copies of whatever evidence Defendants procure, even if provided
to defense counsel by the Defendants themselves.

       Please let us know your availability next week for a meet and confer call.

                                                Sincerely,

                                                ARNALL GOLDEN GREGORY LLP

                                                /s/ Matt Lavin

                                                Matthew M. Lavin



cc:    All counsel of record




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Case 4:20-cv-02254-YGR   Document 477-4   Filed 06/13/25   Page 6 of 13




                         EXHIBIT A
                  Case 4:20-cv-02254-YGR          Document 477-4        Filed 06/13/25      Page 7 of 13
Archived: Wednesday, April 16, 2025 2:22:36 PM
From: Kelly, Tom E.
Sent: Wednesday, April 2, 2025 3:05:10 PM
To: Kraft, Derek K.; Lavin, Matt; Sigler, Geoffrey
Cc: Aiken, Matthew G.; Matthews, Nicole R.; Blas, Lauren M.; Kasabian, Andrew M.; Ferraro, Justin F.; Wemhoff, Nicole E.;
Gwynn, Kiera C.; Ritter-Wiseman, Jeremy B.
Subject: RE: LD et al v. United Behavioral Health et al Order
Sensitivity: Normal


Derek –

Following up on yesterday’s conversation, below is our list of 50 providers, which was circulated on Tuesday, March 25.
To streamline the process, Plaintiffs request that United first pull data for the declarant providers highlighted in yellow.
Once that data is collected and produced, we ask that United proceed with the remaining providers on the list (not
highlighted), followed by the full non-deidentified class list, as requested in our March 25 email.

Thank you,
Tom

 Thomas E. Kelly
 OF COUNSEL
 d 404.873.8133

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 Celebrating 75 Years



From: Kelly, Tom E.
Sent: Tuesday, March 25, 2025 11:28 AM
To: Kraft, Derek K. <DKraft@gibsondunn.com>; Lavin, Matt <Matt.Lavin@AGG.com>; Sigler, Geoffrey
<GSigler@gibsondunn.com>
Cc: Aiken, Matthew G. <MAiken@gibsondunn.com>; Matthews, Nicole R. <NMatthews@gibsondunn.com>; Blas, Lauren M.
<LBlas@gibsondunn.com>; Kasabian, Andrew M. <AKasabian@gibsondunn.com>; Ferraro, Justin F.
<Justin.Ferraro@AGG.com>; Wemhoff, Nicole E. <Nicole.Wemhoff@AGG.com>; Gwynn, Kiera C. <Kiera.Gwynn@agg.com>;
Ritter-Wiseman, Jeremy B. <Jeremy.Ritter-Wiseman@agg.com>
Subject: RE: LD et al v. United Behavioral Health et al Order

Counsel –

Following the Court’s Order denying Plaintiffs’ renewed motion for class certification, the parties met and conferred on
February 26, 2025, to discuss an updated schedule and joint report. During that discussion, Plaintiffs requested a non-
deidentified class list from United, which United agreed to provide. On March 21, 2025—one month after the initial
conference—Plaintiffs and United met and conferred again regarding this request. For the first time, United’s counsel
indicated they do not have access to the data and that obtaining it could take months.

Given the limited discovery period, Plaintiffs need to match putative class members with balance bills issued by
providers and cannot wait for United’s estimated timeline. If United cannot provide the full non-deidentified class list
promptly, Plaintiffs request the production of claims data for putative class members with claims linked to 50 specified
providers—representing just 0.03% of the providers in United’s deidentified class list. After United produces this data,
Plaintiffs ask that the full non-deidentified class list be provided as soon as possible.

Please confirm when we can expect the deidentified class data for these 50 providers. Additionally, please confirm
whether United has produced all documents it received from providers and other third parties in response to its
                Case 4:20-cv-02254-YGR     Document 477-4   Filed 06/13/25   Page 8 of 13
subpoenas in this matter.

Best,
Tom

   1. A Better Life Recovery
   2. Arise Recovery Centers of America
   3. BOLD Health
   4. Bridging the Gaps
   5. Clear Life Recovery
   6. High Watch Recovery Center
   7. La Jolla Recovery Center
   8. New Life Treatment Center
   9. Northeast Addiction Treatment Center
  10. Nova Recovery Center
  11. Ocean Breeze Recovery Center
  12. Pacific Palms Recovery
  13. Pacific Recovery Solutions
  14. Pathway to Hope
  15. PCI West Lake
  16. RECO Intensive Care
  17. Recovering Champions dba Cape Cod Behavioral Health
  18. Recovery Village at Palmer Lake
  19. Royal Life Centers
  20. Silicon Beach Outpatient Treatment Center
  21. South Miami Recovery Center
  22. Stepping Stone of San Diego
  23. The Edge Treatment Center
  24. United Recovery Project
  25. Windmill Wellness Ranch
  26. Desert Cove Recovery Center
  27. Legacy Health Center Margate
  28. Transformations Treatment Center Inc.
  29. Keystone Recovery Center Inc.
  30. Advanced Health & Education MHSA
  31. White Sands Treatment Center
  32. Holistic Recovery Center
  33. Beach House Center for Recovery
  34. Sandstone Care Colorado LLC
  35. Indiana Center for Recovery LLC
  36. Insight Behavioral Health and Addiction
  37. Blvd Centers Inc.
  38. California Prime Recovery Services Inc.
  39. Immersion Recovery Center LLC
  40. The Beaches Treatment Center LLC
  41. Crestview Recovery Services LLC
  42. Recovery In Tune LLC
  43. White Sands Treatment Center of Tampa
  44. Ohio Addiction Recovery Center
  45. A New Start Inc
  46. Recovering Life Services LLC
  47. Beachside Rehab
  48. Oxford Treatment Center
  49. Pinnacle Peak Recovery LLC
  50. Willow Springs Recovery LLC
                            Case 4:20-cv-02254-YGR                                                                                                                                                                                                                                                                                                                                                                                                                                                             Document 477-4   Filed 06/13/25   Page 9 of 13
                Thomas E. Kelly
                OF COUNSEL
                d 404.873.8133

                ARNALL GOLDEN GREGORY LLP
                Celebrating 75 Years



From: Kraft, Derek K. <DKraft@gibsondunn.com>
Sent: Tuesday, March 18, 2025 5:48 PM
To: Lavin, Matt <Matt.Lavin@AGG.com>; Sigler, Geoffrey <GSigler@gibsondunn.com>
Cc: Aiken, Matthew G. <MAiken@gibsondunn.com>; Matthews, Nicole R. <NMatthews@gibsondunn.com>; Blas, Lauren M.
<LBlas@gibsondunn.com>; Kasabian, Andrew M. <AKasabian@gibsondunn.com>; Ferraro, Justin F.
<Justin.Ferraro@AGG.com>; Wemhoff, Nicole E. <Nicole.Wemhoff@AGG.com>; Gwynn, Kiera C. <Kiera.Gwynn@AGG.com>;
Ritter-Wiseman, Jeremy B. <Jeremy.Ritter-Wiseman@AGG.com>; Kelly, Tom E. <Tom.Kelly@AGG.com>
Subject: [EXTERNAL] RE: LD et al v. United Behavioral Health et al Order


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    sender and know the content is safe.




Thanks, Matt. We’re available to meet and confer at 3pm ET on Friday. We’ll send an invite. And we will
aim to re-produce the Summer 2022 third-party provider productions before our call.

Derek K. Kraft
Associate Attorney

T: +1 202.887.3771
DKraft@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
​1700 M Street, N.W., Washington, D.C. 20036-4504




From: Lavin, Matt <Matt.Lavin@AGG.com>
Sent: Tuesday, March 18, 2025 11:58 AM
To: Sigler, Geoffrey <GSigler@gibsondunn.com>
Cc: Kraft, Derek K. <DKraft@gibsondunn.com>; Aiken, Matthew G. <MAiken@gibsondunn.com>; Matthews, Nicole R.
<NMatthews@gibsondunn.com>; Blas, Lauren M. <LBlas@gibsondunn.com>; Kasabian, Andrew M.
<AKasabian@gibsondunn.com>; Ferraro, Justin F. <Justin.Ferraro@AGG.com>; Nicole.Wemhoff@AGG.com; Gwynn, Kiera C.
<Kiera.Gwynn@AGG.com>; Ritter-Wiseman, Jeremy B. <Jeremy.Ritter-Wiseman@AGG.com>; Tom.Kelly@AGG.com
Subject: RE: LD et al v. United Behavioral Health et al Order
G   e o f f ,   c o u ld   y o u   p le a s e   r e p r o d u c e   t h a t   Su m   m   e r   2 0 2 2   p r o d u c t io n ?   W   e   h a v e   c h a n g e d   d o c u m   e n t   m   a n a g e m   e n t   s y s t e m   s   s in c e   t h e n .   M   a y b e   t h a t ’s   wh y   we   c a n ’t   f in d   it .   I f   it   is   p o s s ib le   t o   d o   t o d a y ,   t h a t   w o u ld   b = g r e a t   a n d   we   w il k e e p   a n   e y e   o u t   f o r   t h e   id e n t if ie d




Geoff, could you please reproduce that Summer 2022 production? We have changed document management
systems since then. Maybe that’s why we can’t find it. If it is possible to do today, that would b=great and we will
keep an eye out for the identified data. There is a short time for this discovery.

We can meet & confer on Friday. Either between 10am-1pm, or 2pm -4pm.

                Matt Lavin
                PARTNER
                  Case 4:20-cv-02254-YGR            Document 477-4          Filed 06/13/25       Page 10 of 13
 d 202.677.4959

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From: Sigler, Geoffrey <GSigler@gibsondunn.com>
Sent: Tuesday, March 18, 2025 10:34 AM
To: Lavin, Matt <Matt.Lavin@AGG.com>
Cc: Kraft, Derek K. <DKraft@gibsondunn.com>; Aiken, Matthew G. <MAiken@gibsondunn.com>; Matthews, Nicole R.
<NMatthews@gibsondunn.com>; Blas, Lauren M. <LBlas@gibsondunn.com>; Kasabian, Andrew M.
<AKasabian@gibsondunn.com>
Subject: [EXTERNAL] RE: LD et al v. United Behavioral Health et al Order


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sender and know the content is safe.




Matt, if you could send correspondence like this to the complete defense team, so that it
can be reviewed and analyzed promptly on our side, I would appreciate it. I am adding my
colleagues here.

From your email, I think there may be some confusion on your side. My understanding is
that in Summer 2022 we produced to you the third party providers’ productions without any
added redactions by Gibson Dunn. See attached transmittal letters. Perhaps you are
looking not at these productions, but at the as-filed versions of these documents, because
we made additional redactions of PHI/PII prior to filing them with the Court. But the key point
is, you should have what we have from our productions in Summer 2022—let me know if this
resolves your request related to the third party productions.

On your other request related to claim data, we are reviewing your request to add names to
the data files we previously produced in 2022, but will need some time to figure out what
would be involved in doing that. This is the first time we’ve received this request, and it isn’t
something that can be turned around in 24 hours.

This email exchange highlights for me the need to meet and confer more broadly on what
discovery will look like in this phase of the case, to ensure that things go as efficiently and
expeditiously as possible—and hopefully avoiding one-off emails to each other demanding
24-hour turnarounds. Could we schedule a call for this Thursday or Friday? I suggest we
include MultiPlan’s counsel as well.

Geoff

Geoffrey Sigler
Partner
                                                                                                                                                                                                             Case 4:20-cv-02254-YGR                                                                                                                                                                                                                                                              Document 477-4            Filed 06/13/25   Page 11 of 13

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GSigler@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
​1700 M Street, N.W., Washington, D.C. 20036-4504

From: Lavin, Matt <Matt.Lavin@AGG.com>
Sent: Monday, March 17, 2025 12:13 PM
To: Sigler, Geoffrey <GSigler@gibsondunn.com>
Subject: LD et al v. United Behavioral Health et al Order
Hi G   e o f f :   W   e   we r e   lo o k in g   a t   t h e   s u p p o r t in g   d o c u m   e n t s   f o r   t h e   d e c la r a t io n s   a n d   m   a n y   o f   t h e m   a p p e a r   t o   b e   r e d a c t e d   b y   y o u r   f ir m   f o r   PHI / PI I .   I   r e a liz e   s o m   e   3 d   p t y   d e c la r a n t s   m   a y   h a v e   m   a d e   r e d a c t io n s   t h e m   s e lv e s ,   b u t   m   a n y   r e d a c t io n s   a r e   c le a r ly




Hi Geoff:

We were looking at the supporting documents for the declarations and many of them appear to be redacted by
your firm for PHI/PII. I realize some 3d pty declarants may have made redactions themselves, but many
redactions are clearly Gibson redactions. (e.g. Pacific Palms) We need to match up patient names on the
balance bills with the claims for the putative class and we need the unredacted versions to do that. We also need
the “identified” version of the original claims data for the putative class that you produced, and it needs to show
patient names.

PHI/PII is obviously covered under the PO. Kindly produce the above to us within the next 24 hours, by 12pm est
on March 18.

               Matt Lavin
               PARTNER
             d 202.677.4959

             ARNALL GOLDEN GREGORY LLP
             Celebrating 75 Years



From: ECF-CAND@cand.uscourts.gov <ECF-CAND@cand.uscourts.gov>
Sent: Tuesday, March 11, 2025 9:24 PM
To: efiling@cand.uscourts.gov
Subject: [EXTERNAL] Activity in Case 4:20-cv-02254-YGR LD et al v. United Behavioral Health et al Order


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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     U.S. District Court

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 California Northern District
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Notice of Electronic Filing

The following transaction was entered on 3/11/2025 at 7:23 PM and filed on 3/11/2025
Case Name:             LD et al v. United Behavioral Health et al
Case Number:           4:20-cv-02254-YGR
Filer:
Document Number: 472

Docket Text:
ORDER RE: SCHEDULE FOR LIMITED DISCOVERY AND SUBSEQUENT BRIEFING. Close of Fact Discovery due by 6/13/2025.
Plaintiff's Renewed Motion for Class Certification due by 7/14/2025. Defendant's Response due by 8/4/2025. Plaintiff's Reply
due by 8/25/2025. Hearing on renewed Motion for Class Certification set for 9/9/2025, at 02:00 PM in Oakland, Courtroom 1,
4th Floor before Judge Yvonne Gonzalez Rogers. Signed by Judge Yvonne Gonzalez Rogers on 3/11/2025. (eac, COURT
STAFF) (Filed on 3/11/2025)


4:20-cv-02254-YGR Notice has been electronically mailed to:

Brittany Holt Alexander        brittany.alexander@phelps.com

Craig L Caesar       Craig.Caesar@phelps.com, trisha.crombie@phelps.com

Damon David Eisenbrey           damon.eisenbrey@agg.com

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Derek Kraft      dkraft@gibsondunn.com

Errol J King , Jr     errol.king@phelps.com, cheryl.johnston@phelps.com, naya.wiley@phelps.com

Geoffrey M. Sigler      GSigler@gibsondunn.com

Heather Lynn Richardson           HRichardson@gibsondunn.com

James Rogers Wiseman            james.wiseman@agg.com

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Lauren Margaret Blas         lblas@gibsondunn.com, PACER-CA@gibsondunn.com

Matthew M. Lavin matt.lavin@agg.com, christi.ellingson@agg.com, James.Wiseman@agg.com,
Jeremy.Ritter-Wiseman@agg.com, Nicole.Wemhoff@agg.com

Nicole Wemhoff        nicole.wemhoff@agg.com

Nicole Renee Matthews          NMatthews@gibsondunn.com, agomez@gibsondunn.com
                 Case 4:20-cv-02254-YGR               Document 477-4          Filed 06/13/25        Page 13 of 13

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Richard Gustavo Garcia             rgg@mmker.com, ldp@manningllp.com

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kumaim@ballardspahr.com, LitDocket_West@ballardspahr.com

Taylor J Crousillac         taylor.crousillac@phelps.com

Thomas Edward Kelly             tom.kelly@agg.com

Wendy Aline Mitchell WAMitchell@napolilaw.com, kurrea@napolilaw.com, MLavin@napolilaw.com,
SBlackmar@napolilaw.com

4:20-cv-02254-YGR Please see Local Rule 5-5; Notice has NOT been electronically mailed to:
The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:C:\fakepath\(20-2254) Order re Limited Discovery Schedule.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=3/11/2025] [FileNumber=22211622-0]
[90c05da4f89ded61e245f1c178fb46a696b9249b8fd7271ac2bc1ec3f8e26aff3c1f
87623edce280c946bc4fdd253326841e44764499e5931ccde28ee51d5a26]]


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